    Case 20-24404           Doc 28        Filed 04/24/21 Entered 04/24/21 01:02:13                          Desc Main
                                            Document Page 1 of 5




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                                 UNITED STATES BANKRUPTCY COURT 
                                          DISTRICT OF UTAH
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'(%725 6 
 CHRISTOPHER PROCTOR
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                                             CERTIFICATE OF SERVICE 

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                                      April 24, 2021,                                    Trustee's Claims Report (Chapter 13)
ZDVHOHFWURQLFDOO\ILOHGZLWKWKH8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH'LVWULFWRI8WDKE\XVLQJWKH&0(&)
V\VWHP,IXUWKHUFHUWLI\WKDWWKHSDUWLHVRIUHFRUGLQWKLVFDVHDVLGHQWLILHGDIWHUWKHVLJQDWXUHOLQHLQWKHDWWDFKHG
1RWLFLQJ&HQWHU¶V&HUWLILFDWHRI6HUYLFHDUHUHJLVWHUHG&0(&)XVHUVDQGZLOOEHVHUYHGWKURXJKWKH&0(&)
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                                      April 23, 2021,
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Trustee's Claims Report (Chapter 13)
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0DLO6HUYLFHYLDWKH1RWLFLQJ&HQWHU±%\UHJXODUILUVWFODVV8QLWHG6WDWHVPDLOSRVWDJHIXOO\SUHSDLGDGGUHVVHGWR
WKRVHSDUWLHVVSHFLILHGLQWKH1RWLFLQJ&HQWHUV&HUWLILFDWH2I6HUYLFHIRXQGEHORZ
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     Case 20-24404          Doc 28      Filed 04/24/21 Entered 04/24/21 01:02:13                    Desc Main
                                          Document Page 2 of 5


OFFICE OF THE CHAPTER 13 TRUSTEE
405 South Main Street, Suite 600
Salt Lake City, Utah 84111
Telephone: (801) 596-2884
Facsimile: (801) 596-2898
Email: utahtrusteemail@ch13ut.org

                           UNITED STATES BANKRUPTCY COURT
                      FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

IN RE:                                                 CASE NO: 20-24404
CHRISTOPHER PROCTOR
                                                       Chapter 13
                         Debtor
                                                       Hon. JOEL T. MARKER

                                   TRUSTEE'S REPORT OF CLAIMS

        The court confirmed the Debtor's plan on November 24, 2020, and the bar dates for filing claims in this case
have now expired, and it appears that all claim issues have been resolved. As stated in the confirmation order, the
Trustee will only disburse on allowed claims provided for in the plan and for which a timely proof of claim was
filed. If the plan provides for a claim but no timely proof of claim has been filed, the Trustee will not disburse on
that claim, subject to direction from the court. Below is a list of all claims provided for by the confirmed plan
and/or for which a proof of claim was filed with a description of how such claims will be administered by the
Chapter 13 Trustee during the life of the plan.
    ABSENT A TIMELY FILED OBJECTION WITH THE BANKRUPTCY COURT, THE TRUSTEE WILL
           ADMINISTER CLAIMS IN THIS CASE PURSUANT TO THE LIST OF CLAIMS BELOW
        On or before May 21, 2021, any objection to the Trustee’s Report of Claims must be filed with the
bankruptcy court and served on the trustee. On or before May 21, 2021, you must also contact the Bankruptcy
Court to reserve a date and time when your objection will be heard by the Bankruptcy Judge and then give the
trustee notice of such hearing. If an objection is not both timely filed and noticed for a hearing, the Trustee’s Report
of Claims will become final and incorporated into the confirmation order, and it will control all disbursements by
the Chapter 13 trustee, subject to subsequent direction from the court.


Dated: 04/21/2021                                          LAJ /S/
                                                           LON A. JENKINS
                                                           CHAPTER 13 TRUSTEE

  Note: The following claims have Step Payments:
  Claim No. 2 TITLEMAX OF UTAH, INC. D/B/A TITLEMAX
      08/01/2020     07/31/2021                      $30.00
      08/01/2021     08/31/9999                      $57.00
     Case 20-24404         Doc 28       Filed 04/24/21 Entered 04/24/21 01:02:13                  Desc Main
                                          Document Page 3 of 5

Claim                                                                  Claim         Collateral   Monthly      Interest
 No. Creditor Name                        Claim Description           Amount          Value       Payment       Rate
4      INTERMOUNTAIN HEALTH CARE           UNSECURED                        $0.00         $0.00     Pro Rata       0.00
                                           LATE FILED CLAIM
       JUSTIN O. BURTON                    ATTORNEY FEE                  $3,250.00        $0.00     Pro Rata       0.00

2      TITLEMAX OF UTAH, INC. D/B/A TITLE VEHICLE SECD (PERMO level 17 $3,774.54      $3,774.54     $30.00         5.00
                                          2014 HARLEY DAVIDSON/PV=$
1      UNIVERSITY OF UTAH HEALTH          UNSECURED                     $3,238.36         $0.00     Pro Rata       0.00
                                          HEALTHCARE SERVICES
3      Utah Transit Authority             UNSECURED                    $40,887.96         $0.00     Pro Rata       0.00
                                          VEHICULAR ACCIDENT WITH
             Case 20-24404            Doc 28        Filed 04/24/21 Entered 04/24/21 01:02:13                         Desc Main
                                                      Document Page 4 of 5
                                                 United States Bankruptcy Court
                                                       District of Utah
 In re:                                                                                                       Case No. 20-24404
 CHRISTOPHER PROCTOR                                                                                          Chapter 13
          Debtor
                                                   CERTIFICATE OF SERVICE
 District/off: 1088-c                  User: 563                           Page 1 of 2                          Date Rcvd: Apr 22, 2021
                                       Form ID: TROC                       Total Noticed: 22


 Notice by first class mail was sent to the following persons/entities by the Noticing Center on
 Apr 23, 2021.
 db            CHRISTOPHER PROCTOR,    1900 WEST NORTH TEMPLE #128,     SALT LAKE CITY, UT 84116-4904
 1             ALDOUS AND ASSOCIATES, PLLC,    ATTN: BANKRUPTCY,     PO BOX 171374,    HOLLADAY, UT 84117-1374
 2             ASPIRE AUTO,   847 WEST NOTHPOINTE CIRCLE,     NORTH SALT LAKE, UT 84054-2925
 3             CHARTWAY FEDERAL CREDIT UNION,    ATTN: BANKRUPTCY,     5700 CLEVELAND STREET,
                VIRGINIA BEACH, VA 23462-1752
 4             EXETER FINANCE LLC,    ATTN: BANKRUPTCY,    PO BOX 166008,    IRVING, TX 75016-6008
 5             EXETER FINANCE LLC DEPARTMENT,    AIS PORTFOLIO SERVICES LP,     4515 N SANTA FE AVE DEPT APS,
                OKLAHOMA CITY OK 73118-7901
 6             FIRST PREMIER BANK,    PO BOX 5524,    SIOUX FALLS, SD 57117-5524
 7             GOLD CROSS AMBULANCE,    PO BOX 27768,    SALT LAKE CITY, UT 84127-0768
 8             INTERMOUNTAIN HEALTHCARE,    PO BOX 27808,    SALT LAKE CITY, UT 84127-0808
 9             INTERMOUNTAIN MEDICAL CENTER,    5121 SOUTH COTTONWOOD STREET,     MURRAY, UT 84107-5701
 10            JUSTIN O. BURTON,    RULON T. BURTON & ASSOC.,    448 E WINCHESTER ST SUITE 175,
                MURRAY, UT 84107-8503
 11            LES SCHWAB TIRE,    ATTN: BANKRUPTCY,    PO BOX 5350,    BEND, OR 97708-5350
 12            MOUNTAIN WEST MEDICAL CENTER,    2055 NORTH MAIN STREET,     TOOELE, UT 84074-9819
 13            R C WILLEY FINANCIAL SERVICES,    PO BOX 65320,    SLC, UT 84165-0320
 14            SAFECO INSURANCE,    C/O CAINE & WEINER,    5805 SEPULVEDA BLVD,     SHERMAN OAKS, CA 91411-2546
 15            SYNCHRONY BANK/HH GREGG,    ATTN: BANKRUPTCY DEPARTMENT,     PO BOX 965060,    ORLANDO, FL 32896-5060
 16            TITLEMAX OF UTAH,    1108 EAST 3300 SOUTH,    SALT LAKE CITY, UT 84106-2598
 17            TITLEMAX OF UTAH, INC.,    15 BULL STREET, SUITE 200,     SAVANNAH, GA 31401-2686
 18            UNIFIED FIRE AUTHORITY,    PO BOX 27768,    SALT LAKE CITY, UT 84127-0768
 19            UNIVERSITY HEALTH CARE,    127 SOUTH 500 EAST, STE 420,     SALT LAKE CITY, UT 84102-1979
 20            UTAH TRANSIT AUTHORITY,    250 SOUTH 600 WEST,    SALT LAKE CITY, UT 84101-1010
 21            VASA FITNESS CORPORATE OFFICE,    3491 WEST 3500 SOUTH,     WEST VALLEY CITY, UT 84119-2537

 Notice by electronic transmission was sent to the following persons/entities by the Noticing Center.
 NONE.                                                                                       TOTAL: 0

               ***** BYPASSED RECIPIENTS *****
 NONE.                                                                                                                 TOTAL: 0




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the document specified in the Form ID field of this Certificate of
Service to the above listed entities in the manner shown, and prepared the Certificate of Service and that it is true and correct to the best
of my information and belief.




Date: Apr 23, 2021                                       Signature:
         Case 20-24404       Doc 28     Filed 04/24/21 Entered 04/24/21 01:02:13           Desc Main
                                          Document Page 5 of 5


District/off: 1088-c         User: 563                   Page 2 of 2                   Date Rcvd: Apr 22, 2021
                             Form ID: TROC               Total Noticed: 22


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on April 24, 2021 at the address(es) listed below:
nef           LON JENKINS TR
nef           UNITED STATES TRUSTEE
                                                                                            TOTAL: 2
